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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    §
                                            §
                                            §
v.                                          §         Case No. 21-CR-00046-RDM
                                            §
PATRICK MONTGOMERY and                      §
BRADY KNOWLTON,                             §
                                            §
      Defendants                            §

                 DEFENDANTS’ NOTICE OF NEW AUTHORITY IN
       U.S. v. SANDLIN, 21-CR-88-DLF AND U.S. v. REFFITT, 21-CR-32-DLF
                           AND RESPONSE THEREO

TO THE HONORABLE RANDOLPH D. MOSS, UNITED STATES DISTRICT
JUDGE FOR THE DISTRICT OF COLUMBIA:

      PATRICK MONTGOMERY and BRADY KNOWLTON, the Defendants in the

above styled and numbered cause, by and through their respective, undersigned coun-

sel, submit the following to place this Court on notice that a judge in this district has

denied a January 6 defendant’s motion to dismiss a charge alleging a violation of 18

U.S.C. § 1512(c)(2), U.S. v. Ronald Sandlin, 21-cr-88-DLF, ECF No. 63 (D.D.C. 2021),

while at the same time deferring consideration of another under the vagueness doc-

trine. U.S. v. Guy Reffitt, 21-cr-32-DLF, Minute Order 12/11/21 (D.D.C. 2021). De-

fendants seek to explain why following these decisions would lead this Court into

error on their same motion. They will also show that, either way, the decisions in both

cases do not apply here on their own terms.

Official proceeding

      In Sandlin, the Court began by acknowledging that the term “proceeding” in



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Section 1512(c)(2)’s “official proceeding” should not be construed in the lay sense but

“understood narrowly, in a ‘legal’ sense.” Mem. Op., p. 6. For this distinction, the

Court relied on United States v. Ermoian, 752 F.3d 1165 (9th Cir. 2013). Id. However,

after determining that Ermoian correctly rejected the lay meaning, the Sandlin Court

did not then identify the legal-sense definition ultimately settled on by the court of

appeals. Mem. Op., p. 6. That definition was: “‘the business done in courts.’” Ermoian,

752 F.3d at 1170 (quoting BLACK’S LAW DICTIONARY 1241 (8th ed. 2004)). The Sandlin

Court did not note that the court of appeals went on to elaborate that “the use of the

preposition ‘before’” — as, for example, in the phrase “a proceeding before the Con-

gress,” 18 U.S.C. § 1515(a)(1)(B) — “suggests an appearance in front of [an] agency

sitting as a tribunal.” Id. at 1171 (emphasis added). In Ermoian, an FBI investigation

did not “occur ‘before a Federal Government Agency’” because it was not “like a hear-

ing or trial . . .” Id. The Sandlin Court omitted that the court of appeals held that

Section 1512’s terms, including “attendance,” “testimony,” “production,” and “sum-

mon,” “strongly impl[y] that some formal hearing before a tribunal is contemplated.”

Id. (emphasis added).

      Instead, the Sandlin Court determined that a legal-sense definition of “pro-

ceeding” might be satisfied by mere “formality” per se, which need not entail adjudi-

cation or even investigation itself. Mem. Op., p. 6. Here, however, this Court will no-

tice several things.

      First, the Sandlin Court cites no authority for the proposition that a legal-

sense “proceeding” may occur absent adjudicative procedures or any investigation. In



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over a century of obstruction of justice jurisprudence, there is none.

        Second, the Sandlin Court omitted from its analysis this Circuit’s binding de-

cision in United States v. Kelley, 36 F.3d 1118 (D.C. Cir. 1994). There, the D.C. Circuit

identified two qualities that turn an investigation into a Chapter 73 “proceeding”:

“adjudicative power or . . . the power to enhance the[] investigation[] through the

issuance of subpoenas or warrants.” Id. at 1127. Notice that three of the attributes

defining a Chapter 73 “proceeding” in Kelley, binding on this Court, are absent from

the January 6 joint session of Congress: (i) no investigation; (ii) no adjudicative

power;1 and (iii) no power to issue subpoenas or warrants. Notice, too, that the

Sandlin Court omits that the Government stipulated in Kelley that “proceedings” un-

der Section 1505 (entailing congressional investigations and inquiries) are “parallel”

to those in Section 1512.2

        Third, the Court will notice how the Sandlin Court arrived at its holding that

“official proceeding” is satisfied by “some formal[ity]. . .” Mem. Op. p. 6 (citing United

States v. Ramos, 537 F.3d 439 (5th Cir. 2008)). It quotes Ramos: “That [a] proceeding

occurs ‘before’ an agency implies ‘some formal convocation of the agency in which

parties are directed to appear, instead of any informal investigation conducted by any




1 By not addressing adjudicative power under Kelley, the Sandlin Court thus avoided whether the
“formal” (not to say “adjudicative”) procedures under the Electoral Count Act of 1887 permit Congress
to adjudicate the outcome of a non-deadlocked presidential election contrary to the Constitution’s Elec-
tor Clause and the Twelfth Amendment, and whether the ECA was nonbinding on Congress (whose
actions on January 6 were therefore not intrinsically adjudicative) as a piece of unconstitutional leg-
islative entrenchment. U.S. v. Winstar Corp., 518 U.S. 839, 872 (1996).

2The Government might be expected to recall this key stipulation. The appellate lawyer who person-
ally stipulated to the Section 1505-1512 “parallel” was Merrick Garland.

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member of the agency.’” Id. (quoting Ramos, 537 F.3d at 462-63). This Court will re-

call that, in one of the many supplements the Government has submitted in this and

other cases they quoted Ramos’s “some formal convocation” formula — and omitted

the connected phrase “in which parties are directed to appear.” The Sandlin Court

appropriately included the latter phrase. But the inclusion defeats the Court’s for-

mality per se definition: “parties” are by definition those opposed in an adjudicatory

proceeding to which they “are directed to appear.” 537 F.3d at 462–63. Notice, too,

that Ramos, like Kelley, presumes the Chapter 73 “proceeding” will involve some in-

vestigation into some violation of the law. All of the relevant case law does.

       Fourth, although the Sandlin Court concludes that an “official proceeding”

must at least “be akin to a formal hearing,” it does not define “hearing.” Mem. Op., p.

7 (emphasis added). However, courts define “hearing” as “‘a proceeding of relative

formality . . . generally public, with definite issues of fact or of law to be tried, in which

witnesses are heard and parties proceeded against have the right to be heard . . .’” U.S.

ex rel. Health Choice All., LLC v. Eli Lilly & Co., 4 F.4th 255, 264 (5th Cir. 2021)

(quoting Hearing, BLACK’S LAW DICTIONARY (5th ed. 1979))(emphasis added). The

Court’s description of the ECA’s electoral certificate-counting procedures does not en-

tail “issues of fact or law” to be decided, “in which witnesses are heard and parties

proceeded against have the right to be heard.” Mem. Op., p. 7. Put another way, the

adjudicative problem cannot be solved by sweeping it under a rug called “hearing,”

even if one places the adjective “formal” before it. Perhaps understanding this, the

Court hedges the word “hearing” with qualifiers like “trappings of” and “akin to” and



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“analogous.” Mem. Op., pp. 7–8. But there is no such crime as “obstruction of the

‘trappings’ of justice” or “obstructing something ‘akin to’ a justice-like analogy.” Until

January 6, federal laws have not been construed to criminalize on the plane of simile

and metaphor.

        Fifth, the Sandlin Court found that “a related provision in the same chapter of

Title 18 makes clear that congressional proceedings under § 1512(c) need not be

‘court-like.’” Mem. Op., p. 8. Specifically, the Court noted that under Section 1503 it

is unlawful to corruptly obstruct “the due administration of justice.” Id. To avoid re-

dundancy with “official proceeding” in Section 1512(c), the Court declined to “read an

‘administration of justice’ requirement into ‘official proceeding’” and so “official pro-

ceeding” must be broader. Id. Here, the Court incorrectly assumed that the “due ad-

ministration of justice” term reaches all adjudicatory proceedings and proceedings

involving investigations. It does not. Every circuit that has defined the “due admin-

istration of justice” has held that its meaning is coterminous with judicial proceed-

ings.3 But a proceeding may be adjudicative or at least involve an investigation even

if it is not judicial: for example, the Iran-Contra proceedings in Congress. Thus, the

“due administration of justice” phrase in Section 1503 is not a basis for defining “of-

ficial proceedings” short of adjudicatory procedures or investigations.


3 United States v. Richardson, 676 F.3d 491, 502-503 (5th Cir. 2012) (“[O]bstructing the due admin-
istration of justice means interfering with the procedure of a judicial hearing or trial.”); United States
v. Brenson, 104 F.3d 1267, 1279–80 (11th Cir. 1997) (“due administration of justice” means “judicial
procedure” and “the performance of acts required by law in the discharge of duties such as appearing
as a witness and giving thoughtful testimony when subpoenaed”); United States v. Warlick, 742 F.2d
113, 116 (4th Cir. 1984) (defining obstruction of the “administration of justice” as acts that “thwart the
judicial process”); United States v. Rasheed, 663 F.2d 843, 851 (9th Cir. 1981) (“administration of jus-
tice” commences with “a specific judicial proceeding”).


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      Finally, the Sandlin Court did not address a determinative canon of statutory

construction. Courts “assume Congress is aware of existing law when it passes legis-

lation.” Miles v. Apex Marine Corp., 498 U.S. 19, 32 (1990). A party must clearly over-

come that assumption to establish that Congress intended a change to the meaning

given legal terms by related statutes and their judicial gloss. Hubbard v. United

States, 514 U.S. 695, 700 (1995). “When Congress uses the language of one statute in

another statute it usually intends both statutes to have the same meaning.” Avocados

Plus Inc. v. Veneman, 370 F.3d 1243, 1249 (D.C. Cir. 2004). And when interpreting

statutes, the “assumption is that Congress knows the law – by which the Supreme

Court means judicial decisions.” Id. Put another way, when it comes to interpreting

statutory terms, “meaning is use”; statutory meaning is not a just-this-once definition

arrived at ex post (“some formal[ity]. . .” Mem. Op. p. 6).

      How has the term “proceeding” been used in the context of Chapter 73? In a

century or more of obstruction of justice jurisprudence predating the passage of the

Sarbanes-Oxley Act of 2002 (SOX), the obstruction of justice term “proceeding” had

never been construed to encompass any “formal” meeting of people lacking adjudica-

tive power or an investigation. To the contrary, the D.C. Circuit had held at least

twice before SOX’s passage that those qualities are required of a Chapter 73 “pro-

ceeding.” Kelley, 36 F.3d at 1127; United States v. Poindexter, 951 F.2d 369, 380-82

(D.C. Cir. 1991). Thus, because there is no evidence of a contrary understanding of

“proceeding” prior to Section 1512(c)(2)’s codification, the Sandlin Court should have

“assumed” that Congress did not intend a sub silentio amendment to the historical



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sense of that term as used in the statute. Avocados Plus Inc., 370 F.3d at 1249. When

novel, just-so constructions are placed on criminal statutes after the fact — and in

such a noticeable way — it creates a regrettable impression in the public’s mind of

outcome-oriented decision making.

“Section 1512(c)(2) is not limited to acts affecting evidence”

        The Sandlin Court allowed that the subsections of Section 1512 “surrounding”

subsection (c)(2) “focus on documentary, tangible, and testimonial evidence.” Mem.

Op. p. 10. However, the Court determined that subsection (c)(2), uniquely, “is not

limited to acts affecting evidence.” Id.

        The Court did not identify any other subsection in Section 1512 — titled, “Tam-

pering with a witness, victim or informant”4 — that is similarly unbound by any re-

lationship to evidence in a proceeding. But the actus reus verbs in (c)(2) — “obstruct,”

“influence,” and “impede” — are “expansive and seemingly encompass all sorts of ac-

tions that affect or interfere with official proceedings, including . . . halting the occur-

rence of the proceeding altogether.” Mem. Op. p. 9.

        The Court acknowledged that it must consider “the broader context of the stat-

ute as a whole.” Mem. Op. p. 10. It began with subsection (c)(1). The Court allowed

that (c)(1) is indeed “limited to acts affecting evidence,” namely, altering, destroying

or concealing documents and other objects “with the intent to impair the object’s in-

tegrity or availability for use in an official proceeding.” Id. It also acknowledged that




4 The Sandlin Court prefers the pre-codification title of the “relevant section in [the SOX legislation].
. .” Mem. Op., p. 13.

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“Subsections (c)(1) and (c)(2) are linked by the word ‘otherwise,’” resulting in “inter-

play between” the subsections. Id.

      However, one page after concluding that (c)(1) and (c)(2) are “linked,” the Court

determined they are, simultaneously, “plainly separate and independent.” Mem. Op.

p. 11. The Court did not explain how things can be linked and separate at the same

time. But it did find that (c)(2) was “independent” from (c)(1) because it is “set off by

both a semicolon and a line break.” Id.

      The judicial purpose of interpreting statutory text is to understand its mean-

ing, as distinguished from its visual appearance as such. The Court did not explain

how a semicolon and line break somehow altered the meaning of (c)(2)’s “otherwise”

phrase which, as the Court correctly noted, “links” it to the meaning of (c)(1). Stated

differently, the question of meaning involves grammar, not page format. Subsection

(c)(2) is a clause dependent on (c)(1) for its meaning because the predicate “or other-

wise obstructs, influences, or impedes any official proceeding, or attempts to. . . .” is

not a complete sentence. That distinguishes the relationship between (c)(1) and (c)(2)

from the relationship between the two statutory sections in the case relied on by the

Sandlin Court, Overdevest Nurseries, L.P. v. Walsh, 2 F.4th 977, 983 (D.C. Cir. 2021).

For convenience, Defendants reproduces here the two sections from that case that the

Sandlin Court compares to (c)(1) and (c)(2) of Section 1512:

      To participate in the H-2A program, an employer must first certify to
      the Secretary of Labor that:

          A. there are not sufficient workers who are able, willing, and quali-
             fied, and who will be available at the time and place needed, to
             perform the labor or services involved in the petition, [“subsection


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             A”] and

          B. the employment of the alien in such labor or services will not ad-
             versely affect the wages and working conditions of workers in the
             United States similarly employed [“subsection B”].

Overdevest Nurseries, L.P. , 2 F.4th at 983 (quoting 8 U.S.C. § 1188(a)(1)(A)-(B)).

      As this Court will see, each of the provisions in the case relied on by the

Sandlin Court is a complete sentence, unlike subsections (c)(1) and (c)(2) of Section

1512. Thus, they are grammatically independent in a way that (c)(1) and (c)(2) are

not. The same grammatical point distinguishes Justice Scalia’s finding in United

States v. Aguilar, on which the Sandlin Court relies, that the ejusdem generis canon

did not apply to Section 1503’s “omnibus clause.” 515 U.S. at 615–16 (finding that the

omnibus clause is “independent” of the rest of Section 1503 in a grammatical sense:

it stands alone as a complete sentence).

      Contrary to the Sandlin Court’s understanding, line breaks and semicolons do

not necessarily alter the meaning of the clauses that follow in a sentence. One simple

example would seem to suffice:

      The reticent volcano keeps
      His never slumbering plan;
      Confided are his projects pink
      To no precarious man.

      In the sentence above, the line break between “The reticent volcano keeps/His

never slumbering plan” does not indicate that the second line is grammatically “in-

dependent” of the first. To the contrary, the phrase containing the pronoun “his” can-

not be understood without reference to its antecedent in the first line. Similarly, the

same pronoun following the semicolon cannot be understood without reference to the


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first line. Just so with (c)(2)’s “; or otherwise obstructs . . .”

       The Sandlin Court’s mistake in paradoxically finding (c)(2) “linked” to, but “in-

dependent” of (c)(1) led it to erroneously distinguish Begay v. United States, 553 U.S.

137 (2008). Mem. Op. pp. 10–11. As in Begay, the “otherwise” clause in (c)(2) following

(c)(1)’s “alter[ing], destroy[ing], mutilat[ing] or conceal[ing] a record, document or

other object . . . with the intent to impair the object’s integrity or availability for use

in an official proceeding. . .” must only cover “similar” crimes. 553 U.S. at 142. If (c)(2)

reaches acts as unrelated to object evidence destruction as appearing in Congress

without permission, it covers activities such as trespass or harassment. Those crimes

are no more “similar” to the document destruction in (c)(1) than the DUI offense was

to violent crime in Begay. The way in which the Sandlin Court distinguished Begay

was to incorrectly find (c)(2) “independent of” (but “linked to”) (c)(1). Mem. Op. pp.

10–11.

       The Sandlin Court’s treatment of Yates v. United States, 574 U.S. 528 (2015)

contained similar errors concerning application of the noscitur a sociis canon and the

avoidance of surplusage. Consider noscitur a sociis first. The Sandlin Court found

that the Court in Yates “was troubled by the fact that some of the provision’s verbs—

like ‘falsifies’ and ‘makes a false entry in’—would not make sense as applied to fish.”

Mem. Op. p. 13. But, the Sandlin Court added, that “is not a problem [in connection

with January 6 and § 1512(c)(2)], where obstructing, influencing, or impeding an of-

ficial proceeding naturally come in numerous forms, including both evidence impair-

ment and the halting of the proceeding altogether.” Id.



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       Yates’s reasoning under noscitur a sociis was more holistic than the isolated

point cited by the Sandlin Court. Yates found that “tangible object” in Section 1519

was “in the company of” terms relating to “record[s] [or] document[s.]” 574 U.S. at

544. “Tangible object,” therefore, was “appropriately read to refer, not to any tangible

object, but specifically to the subset of tangible objects . . . used to record or preserve

information.” Id. The Court was also “[m]indful that in Sarbanes-Oxley, Congress

trained its attention on corporate and accounting deception and cover ups.” Id. at 532.

Reading “tangible object” to cover objects like a fish that did not record or preserve

information would “cut § 1519 loose from its financial-fraud mooring.” Id. It is not

enough, the Court held, to simply contend that Section 1519 “extends beyond the

principal evil motivating its passage” and that the statute is a “general ban on the

spoliation of evidence” going by dictionary definitions of “tangible” and “object” in

isolation. Id. at 536.5

       The Government’s argument that Section 1512(c)(2) is the only provision in the

statute that criminalizes acts unrelated to evidence integrity and availability is sig-

nificantly more offensive to noscitur a sociis than the Government’s interpretation in

Yates. As the Sandlin Court itself allowed, the subsections of Section 1512 “surround-

ing” subsection (c)(2) “focus on documentary, tangible, and testimonial evidence.”

Mem. Op. p. 10. Just as in Yates, those Section 1512 provisions all concern “infor-

mation” destined for a proceeding. Allowing (c)(2) to cover acts having no relationship

to information in a proceeding would, like applying “tangible object” to a fish, not only


5The Sandlin Court’s holding directly conflicts with this part of Yates: “Statutes often reach beyond
the principal evil that animated them.” Mem. Op. p. 17.

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“cut § [1512(c)(2)] loose from its financial-fraud mooring,” but from the rest of the

statutory scheme as well. Yates, 574 U.S. at 532. The Government’s error in Yates is

in the same nature as its error here: it applies an obstruction of justice concept in the

wrong category.

        The Sandlin Court’s surplusage analysis was also mistaken. Mem. Op. p. 14.

The Court determined that the Government’s construction of (c)(2) — criminalizing

any act that obstructs/influences an official proceeding — “does not entirely subsume

numerous provisions within the chapter.” Id. That is incorrect. The Government’s

interpretation plainly swallows the rest of Section 1512 as well as Sections 1503 and

1505.

        The Sandlin Court determined that “§ 1512(a)(1)(C), (a)(2)(C), (b)(3), and

(d)(2)–(4) proscribe conduct unrelated to an ‘official proceeding’” and thus that sur-

plusage is avoided. Mem. Op. p. 14. Notice, first, that the Court implicitly acknowl-

edged that the Government’s construction of (c)(2) render useless Sections

1512(a)(1)(A), 1512(a)(1)(B), 1512(a)(2)(A), and 1512(a)(2)(B). But the Court was in-

correct that the sub-sub-sections it emphasizes are “unrelated to an ‘official proceed-

ing’” and thus that the Government’s interpretation of (c)(2) does not render them

superfluous. When a person kills (Section 1512(a)(1)(C)), or uses physical force (Sec-

tion 1512(a)(2)(C)) on, or threatens (Sections 1512(b)(3)) someone to “prevent [their]

communication . . .to a law enforcement officer or judge of the United States of infor-

mation relating to the commission or possible commission of a Federal offense. . .,”

this is not unconnected to an official proceeding. For “an official proceeding need not



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be pending or about to be instituted at the time of the offense.” 18 U.S.C. § 1512(f)(1).

The nexus element merely requires that obstruction of a specifically contemplated

official proceeding, even if not then instituted, be the intended outcome of the obstruc-

tive act. Therefore, if a defendant assaults a person to prevent their communication

to law enforcement of the time and location of a particular drug transaction, the nexus

requirement to a specific but not-yet-instituted official proceeding may be satisfied.

Thus, the Government’s interpretation of (c)(2) has not avoided surplusage in Sec-

tions 1512(a)(1)(C), 1512(a)(2)(C), and 1512(b)(3).

      The Court’s surplusage mistake also extends to sub-Section (d)(2)–(4). Harass-

ment designed to prevent a person from reporting to law enforcement or a judge

((d)(2)), from arresting a person “in connection with a federal offense” ((d)(3)), or from

“causing a criminal prosecution . . . to be sought or instituted” ((d)(4)) is very much

conduct related to an official proceeding, because, again: official proceedings “need

not be pending or about to be instituted at the time of the offense,” 18 U.S.C. §

1512(f)(1), and all of those actus reus contemplate official proceedings.

      The Court says the Government’s construction of (c)(2) creates no surplusage

of Sections 1503 and 1505 because those latter statutes “prohibit obstructive acts re-

lated to the ‘due administration of justice’ and congressional inquiries or investiga-

tions, respectively, which may have no relation to an official proceeding.” Mem. Op.

p. 14. Not so. As explained previously, every circuit that has defined the “due admin-

istration of justice” has held that its meaning is coterminous with judicial proceed-

ings. Judicial proceedings are also “official proceedings.” 18 U.S.C. § 1515(a)(1)(A). As



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for congressional inquiries or investigations, if, as the Sandlin Court believes, an “of-

ficial proceeding” is merely any formal proceeding, congressional inquiries or investi-

gations would qualify by definition.

          The Sandlin Court cites the counter-canon that, sometimes, forbidden surplus-

age is merely tolerable “overlap.” Mem. Op. p. 14. But while the Court cites a dissent-

ing rather than a controlling opinion in support, it omits that in the past six years

the Supreme Court has rejected the “mere overlap” counter-canon in the context of

“catchall” provisions in obstruction statutes — precisely the scenario here. Marinello

v. United States, 138 S. Ct. 1101, 1107-08 (2018); Yates, 574 U.S. at 544.

          “More important” than the “mere overlap” counter-canon, added the Sandlin

Court, was that defendants’ construction of subsection (c)(2), “which would limit its

scope to acts affecting evidence, would also6 overlap with the rest of § 1512.” Mem.

Op. p. 14. Aha, holds the Court, “committing an act that affects evidence in a proceed-

ing fully encompasses ‘alter[ing], destroy[ing], mutilat[ing], or conceal[ing] a record,

document, or other object’ for its use in a proceeding,” too. Here the Court conflates

the Defendants’ argument against the Government’s overbroad construction (it even

reaches conduct unrelated to evidence) with the Defendants’ positive construction of

(c)(2).

          Defendants do not argue that (c)(2) covers “any act concerning the impairment

or availability of evidence.” Instead, they contend that (c)(2) criminalizes “ob-




6Notice the “also.” The Sandlin Court impliedly admits that the Government’s interpretation of §
1512(c)(2) engulfs “the rest of § 1512.”

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struct[ing], influenc[ing], or imped[ing] any official proceeding” by “impair[ing] [evi-

dence’s] integrity or availability for use in an official proceeding” in a manner other

than “detroy[ing], mutilate[ing], or conceal[ing] a record, document or other object. .

.” See 18 U.S.C.§ 1512(c)(1). Examples would include interfering with non-object evi-

dence, such as occurs in all the Section 1512(c)(2) cases on which the Sandlin Court

relies. Mem. Op. pp. 15–16.

      Finally, the Sandlin Court cites to a case which “affirmed a § 1512(c)(2) con-

viction where the defendant’s obstructive conduct did not relate to evidence.” Mem.

Op. p. 6 (citing United States v. Reich, 479 F.3d 179 (2d Cir. 2007)). The Court’s reli-

ance on Reich is misplaced. For one thing, the obstructive conduct did “relate to evi-

dence.” The defendant faxed a fake court order to his litigation opponent in a civil

case — to prevent the court from considering a motion for summary judgment. Reich,

479 F.3d at 182. By definition, motions for summary judgment involve a review of

evidence. FED. R. CIV. P. 56(a). Second, the defendant did not even argue that, and

the court of appeals did not consider whether, Section 1512(c)(2) only covers acts re-

lated to evidence impairment or availability. Id.

The Sandlin Court’s analysis of vagueness doctrine, the rule of lenity, and the
novel construction principle

      The Sandlin Court determined that, although no court before January 6 had

applied a Chapter 73 statute outside the context of adjudicatory proceedings and in-

vestigations, and although no court had applied Section 1512(c)(2) to acts unrelated

to evidence, the vagueness doctrine and the rule of lenity did not prevent the Court

from placing those new constructions on the statute and applying them to conduct


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that occurred before the interpretations had been decided. Mem. Op. p. 17. Its analy-

sis of those doctrines was misguided.

      The Court reasoned that Section 1512(c)(2)’s “verbs plainly cover obstructive

acts aimed at official proceedings.” Mem. Op. p. 17. However, the question was not

whether the verbs cover obstructive acts generally but obstructive acts unrelated to

evidence impairment or availability — like every other part of Section 1512. Because

no court had ever held so, it is hard to see how a reasonably intelligent person would

have notice that (c)(2) “plainly cover[s],” for example, appearing in Congress without

permission. Moreover, the Court did not address how or why a reasonably intelligent

person would be on notice that a Chapter 73 obstruction statute would be applied to

a “proceeding” not involving an investigation, evidence, or adjudication. Indeed, over

a century of obstruction of justice jurisprudence would put such a person on notice

that the joint session of Congress on January 6 was not a Chapter 73 “proceeding”

because it did not involve an investigation, evidence, or adjudication.

      The Sandlin Court added, “there is little question that violent assaults on law

enforcement officers of the nature charged here constitute obstructive acts. The de-

fendants were on notice of the illegality of their alleged conduct.” Mem. Op. p. 17. If

the (frivolous) issue were whether defendants were on notice of assault charges, the

Sandlin Court would be quite right. However, the question instead is whether they

were on notice of a different crime, obstruction of justice under Section1512(c)(2). “Vi-

olent assaults,” while plainly deplorable, do not have some intrinsic connection to the

meaning of “proceeding” or whether all of Section 1512’s sections concern evidence



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impairment or availability. The Court was addressing a straw man.

      The Sandlin Court briefly addressed the arbitrariness component of vagueness

doctrine as follows: “‘Few subjects are less adapted to judicial review than the exercise

by the Executive of his discretion in deciding when and whether to institute criminal

proceedings, or what precise charge shall be made, or whether to dismiss a proceeding

once brought.’” Mem. Op. p. 17 (quoting United States v. Fokker Servs. B.V., 818 F.3d

733, 741 (D.C. Cir. 2016)).

      That analysis of the significant evidence of arbitrariness inherent in the Gov-

ernment’s use of Section 1512 in the January 6 cases is unfortunately abbreviated. It

is also mistaken. Over 100 times, the Government has entered into Class B misde-

meanor plea agreements with defendants whose conduct on January 6 is identical to

that of defendants charged under Section 1512 who are facing up to 20 years in

prison. The Government has ventured no explanation whatsoever to distinguish why

a person falls into the misdemeanor category versus the serious felony one. No fair

and impartial court system can respond to this enormous problem with drastic con-

sequences for people’s lives by citing one highly generalized statement about judicial

review. Fortunately, the vagueness doctrine does indeed address the situation where

a vague interpretation of a criminal statute enables arbitrary and discriminatory en-

forcement.

      As Justice Gorsuch recently explained, the vagueness doctrine, which is rooted

in the due process clause of the Fifth Amendment, is applied specifically to prevent

“the exercise of arbitrary power.” Sessions v. Dimaya, 138 S. Ct. 1204, 1224 (2018)



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(Gorsuch, J., concurring). For vague laws “leav[e] people in the dark about what the

law demands and allow[] prosecutors and courts to make it up.” Id.

         The Fokker Servs. B.V. decision, relied on by the Sandlin Court, does not hold

otherwise. See Mem. Op. p. 17–18. That case did not concern vagueness doctrine. The

Government and defendant entered into a deferred prosecution agreement and filed

a motion to toll the Speedy Trial Act to make it work. Fokker Servs. B.V., 818 F.3d at

737. The district court denied the motion on the ground that it was unhappy with

deferred prosecution and would hold out on the Speedy Trial Act until it got the

charges it wanted. Id. The D.C. Circuit reversed, holding that courts do not have the

power to hold a Speedy Trial Act motion hostage on such grounds. Id. This uncontro-

versial and quite easy decision has nothing to say about the scope of vagueness doc-

trine.

         Here, by contrast, the point is not that the Court should direct the Government

which charges to file. The perspective, rather, is that of a reasonably intelligent de-

fendant. If the Government is charging hundreds of people with a Class B misde-

meanor for the same conduct that randomly results in a felony charge punishable by

20 years of prison time, the issue is whether the crimes are sufficiently demarcated

to put a defendant on notice of his dramatically increased criminal liability. In these

cases, the Government has provided no notice, much less fair notice, of when or why

a defendant moves from a Title 40 offense to a Section 1512 charge. This is a gross

absence of “standards to govern the actions of police officers, prosecutors, juries and

judges,” Dimaya, 138 S. Ct. at 1212, which cannot be effectively resolved by citations



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to generalized principles outside the relevant constitutional doctrine.

      Finally, the Sandlin Court addressed the rule of lenity in two sentences. Mem.

Op. p. 18. Although no court before Sandlin had applied Section 1512(c)(2) to pro-

ceedings not involving adjudication or investigations and to acts unrelated to evi-

dence, and although multiple courts in the district have acknowledged that the issues

are challenging and difficult, the Sandlin Court found no “grievous ambiguity.” Id.

(citing Barber v. Thomas, 560 U.S. 474, 488 (2010)). This was in error. In the first

place, in the Yates decision, the Court applied an “any doubt” standard of ambiguity,

not the “grievous ambiguity” standard. 574 U.S. at 548 (“[I]f our recourse to tradi-

tional tools of statutory construction leaves any doubt about the meaning of ‘tangible

object,’ . . . we would invoke the rule [of lenity].”) (emphasis added). Yates postdates

Barber. See also Abramski v. United States, 573 U.S. 169, 204 (2014) (Scalia, J., dis-

senting) (“[C]ontrary to the miserly [grievous ambiguity] approach, the rule of lenity

applies whenever, after all legitimate tools of interpretation have been exhausted, a

reasonable doubt persists regarding whether Congress has made the defendant’s con-

duct a federal crime.”) (cleaned up). Here, as explained, courts have already expressed

“doubt” about the Government’s novel construction of Section 1512(c)(2). In any case,

even if the “grievous” ambiguity standard were correct, it would have to apply here.

If the rule of lenity does not apply to multiple novel and strained interpretations piled

on top of each other that leave lawyers and courts in the dark after hundreds of pages

of briefing, lenity would never apply. In addition, although the Sandlin Court cites to

United States v. Lanier, 520 U.S. 259 (1997), it did not address that decision’s novel



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construction principle. Even if the Government’s interpretations of Section 1512(c)(2)

were somehow unambiguously correct and not void-for-vagueness, they still conced-

edly lack any supporting precedent. It is a violation of the due process clause to apply

them retroactively to conduct that occurred before any court had adopted those un-

derstandings of the statute. Lanier, 520 U.S. at 266 (citing Bouie v. City of Columbia,

378 U.S. 347, 353 (1964)).

Sandlin’s Interpretation of “Corruptly”

      The Court began its analysis of Section 1512(c)(2)’s term “corruptly” by treat-

ing the defendants’ arguments there as though they were a facial challenge to that

term. Mem. Op. pp. 18-19. According to the Court, they argued that (1) as a matter

of statutory construction, “corruptly” does not mean “wrongfully, immorally or in a

depraved manner” and (2) the Government’s definition of the term applied in the Jan-

uary 6 cases is unconstitutionally vague.

      When the Court turned to an as-applied challenge, it erred. As in the Govern-

ment’s analysis, the confusion arises from declining to address or acknowledge the

distinction between different types of proceedings, i.e., the context in which a word is

used. The Court allowed that in Poindexter, the D.C. Circuit found that equating “cor-

ruptly” with moral purpose definitions like “wrongfully” would be unconstitutionally

vague and therefore held that “corruptly” must be interpreted transitively to require

proof that a defendant influenced another person to violate their legal duty and

thereby obstruct a congressional proceeding. Mem. Op. p. 20 (citing Poindexter, 951

F.2d at 379). But the Court then found that “Courts have since cabined Poindexter’s



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holding to its facts and have not read it as a broad indictment of the use of the word

‘corruptly’ in the various obstruction-of-justice statutes.” Mem. Op. p. 20. What the

Sandlin Court failed to acknowledge or notice is that all the post-Poindexter decisions

it cites for that proposition occur in the irrelevant context of judicial proceedings, not

congressional ones. Id. (citing cases). (Irrelevant because the Court was simultane-

ously assuming that investigations and evidence are not required for a Chapter 73

“proceeding”).

        The next steps in the Court’s analysis are difficult to assess. The Court cited

to virtually the same dictionary definitions of “corrupt” on which the Poindexter court

relied. Mem. Op. p. 21. Like Poindexter, the Sandlin Court noted the distinction be-

tween transitive and intransitive meanings. Id. The Court then went on to hold that

“the plain meaning of ‘corruptly’ encompasses both corrupt (improper) means and

corrupt (morally debased) purposes.” Id. (emphasis original). Citing decisions from

the judicial proceedings context, it “agree[d] that § 1512(c)’s proscription of knowing

conduct undertaken with the specific intent to obstruct, impede or influence the pro-

ceeding provides a clear standard to which the defendant can conform his behavior.”

Id. at 23. However, not only is a corruptly-is-merely-the-intent-to-obstruct standard

plainly foreclosed by Poindexter, it is rejected by Judge Silberman’s concurrence in

U.S. v. North, on which the Sandlin Court itself relies. 910 F.2d 843, 940–41 (D.C.

Cir. 1990) (an intent-to-obstruct definition “reads the word ‘corruptly’ out of the stat-

ute).

        To make matters more confusing, the Sandlin Court then appeared to hold



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that “defining ‘corruptly’ to involve ‘wrongfulness’ presents a closer question because

it may be subject to the same infirmities that Poindexter found in the words ‘immoral’

and ‘improper.’” Mem. Op. p. 21. The Court appeared to resolve this problem by nar-

rowing “wrongful” to “independently criminal conduct.” Id. at 24. The sole authority

it cites is a nonbinding concurrence in North. Id. But in applying this standard to the

facts at issue, the Court appeared to indicate that “independently criminal conduct”

may practically mean “very severe independently criminal conduct.” For the Court

found that “forcibly breach[ing] the Capitol Building, assasult[ing] Capitol police of-

ficers, and encourage[ing] others to steal laptops and paperwork from the Senate

Chamber” are acts that “fall on the obviously unlawful side of the line.” Mem. Op. p.

24 (emphasis added).

      The Sandlin Court’s definition of “corruptly” is neither consistent with D.C.

Circuit precedent nor workable in practice. “Corruptly” cannot mean “independently

criminal conduct” for various reasons. In the first place, it was rejected by Poindexter,

a point the Sandlin Court did not address. Poindexter’s false statements to Congress

predicated charges under both Section 1001 and Section 1505. Poindexter, 951 F.2d

at 371. The D.C. Circuit reversed the Section 1505 conviction on the ground that the

Government had not proven the “corruptly” element. Id. It rejected, however, Poin-

dexter’s challenge to his Section 1001 conviction. Id. at 387. If a defendant’s intent to

obstruct a proceeding “while” committing an “independent violation of the law” were

a proper definition of “corruptly,” Poindexter’s Section 1505 conviction would not have

been vacated.



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      Practically, this definition does not resolve the vagueness identified by the

Court itself. If obstructing/influencing Congress is “corruptly” done whenever the de-

fendant at the same time commits “independent criminal conduct” there remains the

problem of an incomprehensible boundary between Class B misdemeanor and felony

conduct. The Government contends that every single protester who entered the Cap-

itol on January 6 ipso facto committed a crime: entering a “restricted area,” Title 40

“parading,” or both. Yet in hundreds of cases, that conduct is classified as a misde-

meanor even when it involved “influencing” or “obstructing” or “impeding” Congress.

      To its credit, the Court appeared sensitive to this extremely serious concern of

notice and fairness. After deciding Sandlin the Court entered an order in the Reffitt

case holding that the vagueness doctrine may prohibit a Section 1512(c)(2) charge as

applied in that case. United States v. Guy Wesley Reffitt, 21-cr-32-DLF, Minute Order

12/11/21. The Court therefore appeared to be defining “independent criminal conduct”

to mean, perhaps, “violent independent criminal conduct” or “felonious independent

criminal conduct.” While that distinction may matter in fairness terms, it does not

appear to have anything to do with the meaning of the term “corruptly.”

      All these quandaries are avoided simply and without creating unnecessary dis-

tortions in the law. When a defendant assaults law enforcement — they have com-

mitted the offense of assault of law enforcement. 18 U.S.C. § 111. When a defendant

steals property from the Capitol — they have committed the offense of theft of gov-

ernment property. 18 U.S.C. § 641. When a defendant destroys something at the Cap-




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itol — they have committed a separate offense still. 18 U.S.C. § 1361. All the vague-

ness and confusion enters the analysis because the Government insists on creating a

novel offense that parasitically sits on top of these traditional crimes. The effect is to

punish no separate category of conduct at the cost of distortion of legal concepts and

criminal statutes.

      The Sandlin Court does not address the distinction between how “corruptly” is

interpreted in judicial proceedings versus congressional ones. How does one, for in-

stance, to use an example previously submitted to this Court, distinguish between

Democrat representatives staging a sit in on the House floor in violation of House

rules as they did in 2016 where they waved signs with the names of gun violence

victims and chanting, “No bill! No break!” thereby obstruction proceedings before

Congress? More importantly, the Sandlin court does not address the Seventh Cir-

cuit’s Pattern Jury Instruction of “corrupt obstruction” as involving a person acting

“with the purpose of wrongfully impeding the due administration of justice.” THE WIL-

LIAM J. BAUER PATTERN CRIMINAL JURY INSTRUCTIONS OF THE SEVENTH CIRCUIT             (2020

Ed.), 18 U.S.C. § 1512 Definition of “Corruptly” at 629. The Sandlin court never once

even attempted to explain how the alleged actions of the defendants there impeded

the due administration of justice.

      Based on this Court’s comments on these issues, Defendants have faith in this

Court to properly consider and apply the law and, despite the Court’s ruling in

Sandlin, grant the Defendant’s Motion to Dismiss Count Ten of the Second Super-

seding Indictment.



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                          CERTIFICATE OF SERVICE

      I certify that a true and correct copy of this motion was sent to Counsel for the

Government, Elizabeth Kelley, James Peterson, and James Pearce, on December 12,

2021, via CM/ECF and email.

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